Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 1 of 34 PageID #: 7483



                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND

   ___________________________________
                                      )
   JUAN SIGUI; JOSE SIGUI;            )
   JOSE CIPRIANO; JOSEPH MENDEZ;      )
   JOSE L. SANTOS;                    )
   and ANTHONY R. KERN, individually  )
   and on behalf of other similarly   )
   situated individuals,              )
                                      )
             Plaintiffs,              )
                                      )
        v.                            )          C.A. No. 14-442 WES
                                      )
   M + M COMMUNICATIONS, INC., alias; )
   COX RHODE ISLAND TEL[E]COM, LLC,   )
   d/b/a COX COMMUNICATIONS, alias;   )
   and COXCOM, LLC, d/b/a             )
   COX COMMUNICATIONS NEW ENGLAND,    )
   alias; and WILLIAM DOWLING, alias, )
                                      )
             Defendants.              )
   ___________________________________)

                                MEMORANDUM AND ORDER

   WILLIAM E. SMITH, Chief Judge.

        Before the Court is Magistrate Lincoln D. Almond’s Report and

   Recommendation (“R&R”) (ECF No. 113) recommending that the Court

   grant Defendants Cox Rhode Island Telecom, LLC’s and CoxCom, LLC’s

   (collectively, “Cox”) Motion for Summary Judgment (ECF No. 83) and

   deny Plaintiffs’ Cross-Motion for Partial Summary Judgment (ECF

   No. 89).    Plaintiffs timely objected to the R&R (ECF No. 114)

   (“Objection”).      After careful review of the R&R, Plaintiffs’
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 2 of 34 PageID #: 7484



   Objection, and the relevant papers, 1 the Court ACCEPTS the R&R and

   adopts   its   recommendations    and     reasoning.    See   28   U.S.C.   §

   636(b)(1).

        First,     Plaintiffs    argue     that    Magistrate    Judge    Almond

   contravened his duty to draw all reasonable inferences in favor of

   Plaintiffs (as the nonmovants) in construing Cox’s Motion for

   Summary Judgment.      (Pls.’ Mem. in Support of Obj. to R. & R.

   (“Pls.’ Obj.”) 2.)     Specifically, Plaintiffs posit that, “the R&R

   ignores all 265 of Plaintiffs’ proffered undisputed facts—most of

   which are not disputed by Cox—and all but 8 of Plaintiffs’ 104

   disputed facts.”    (Id. at 14.)      Plaintiffs appear to suggest that,

   when reviewing Cox’s Motion for Summary Judgment, in addition to

   considering Cox’s Statement of Undisputed Facts and Plaintiffs’

   responsive Statement of Disputed Facts, the magistrate judge must

   also consider Plaintiffs’ Statement of Undisputed Facts submitted

   in support of their cross-motion for summary judgment.             (See id.)

   Plaintiffs’ argument is a nonstarter.          Magistrate Judge Almond, as

   he was required to do, considered the factual record attached to

   Cox’s motion in the light most favorable to Plaintiffs.               (See R.

   & R. Part I.)    In this context, the presence of cross-motions for



        1  The Court undertakes a de novo review of a properly filed
   objection to an R&R addressing a dispositive motion. See Emissive
   Energy Corp. v. SPA-Simrad, Inc., 788 F. Supp. 2d 40, 42 (D.R.I.
   2011); Fed. R. Civ. P. 72(b)(3).


                                         2
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 3 of 34 PageID #: 7485



   summary judgment does not alter the applicable framework.                    Cochran

   v. Quest Software, Inc., 328 F.3d 1, 6 (1st Cir. 2003).                     That is,

   “the court must mull each motion separately, drawing inferences

   against each movant in turn.”              Id. (citing Blackie v. Maine, 75

   F.3d       716,   721   (1st   Cir.    1996)).         Magistrate   Judge     Almond

   appropriately viewed the factual record set forth by Cox’s motion,

   composed of Cox’s Statement of Undisputed Facts and Plaintiffs’

   responsive Statement of Disputed Facts, through which Plaintiffs

   conceded several facts by either not responding at all or not

   responding with sufficient substance. 2 See DRI LR 56(a)(3) (“[A]ny

   fact alleged in the movant’s Statement of Undisputed Facts shall

   be     deemed     admitted     unless     expressly       denied    or   otherwise

   controverted       by   a   party     objecting   to    the   motion.”   (emphasis

   added)).

          Next,      Plaintiffs     posit     that    Magistrate       Judge    Almond

   “[i]mproperly relie[d] on other cases involving telecommunications



          2This conclusion is unaffected by Plaintiffs’ embellishment
   that their statement of undisputed facts in support of their cross-
   motion is also “in opposition to Defendants’ Motion for Summary
   Judgment.”     The local rules of this Court contemplate an
   opportunity for the nonmovant to file a “separate Statement of
   Undisputed Facts” that sets forth “additional undisputed facts not
   contained in the moving party’s statement of undisputed facts,”
   with the key word being additional. See DRI LR 56(a)(4). Nothing
   in the local rules allows - or even remotely suggests -        that
   plaintiffs can incorporate wholesale filings from other motions in
   this way.


                                              3
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 4 of 34 PageID #: 7486



   installers, which are based on different facts and assumes that

   because in those cases a particular indicia of control, standing

   alone,    did    not    indicate   a   joint-employer          relationship[,]    no

   combination of those indicia could lead to a determination that a

   joint-employer         relationship    exists.”         (Pls.’   Obj.   2.)     This

   specific averment goes hand in hand with a larger theme that fills

   Plaintiffs’       fifty-seven-page       objection:        a     suggestion     that

   Magistrate Judge Almond neglected to consider the totality of the

   circumstances.         (See, e.g., id. at 9-13, 16-17, 55-56.)            Contrary

   to    Plaintiffs’      characterization      of   the    R&R,    Magistrate    Judge

   Almond    conducted      what   the    Plaintiffs       correctly    recognize    is

   required:       a “pragmatic, holistic, totality-of-the-circumstances,

   economic-reality approach for joint-employment . . . .”                       (Pls.’

   Obj. 9-10.); see also Baystate Alternative Staffing, Inc. v.

   Herman, 163 F.3d 668, 675 (1st Cir. 1998) (“[T]o determine whether

   an employment relationship exists . . . courts look . . . to the

   ‘economic reality’ of the totality of the circumstances bearing on

   whether the putative employee is economically dependent on the

   alleged employer.”).

          To break down Plaintiffs’ argument, it is helpful to start

   with the basics.        This is important because Plaintiffs’ suggestion

   that Magistrate Judge Almond applied the incorrect standard is

   premised upon a fundamental misconception of what that standard

   is.      To be certain, the applicable standard in this context

                                            4
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 5 of 34 PageID #: 7487



   dictates that, “it is the totality of the circumstances, and not

   any one factor, which determines whether a worker is the employee

   of a particular alleged employer.”               Baystate, 163 F.3d at 676;

   accord Rutherford Food Corp. v. McComb, 331 U.S. 722, 730 (1947)

   (“[T]he determination of the [employer-employee] relationship does

   not   depend      on   such   isolated       factors     but   rather   upon     the

   circumstances of the whole activity.”).            In other words, using the

   four-factor standard adopted in Baystate as a guide, the court

   must holistically consider the case’s circumstances to decipher

   whether the “‘economic reality’ of the situation” aligns with an

   employer/employee relationship.              163 F.3d at 675-77.             This is

   precisely what Magistrate Judge Almond did.                    And his holistic

   analysis lead to the correct conclusion.

             Plaintiffs’ Objection to the R&R reveals that Plaintiffs’

   problem is not the standard applied but the conclusion reached.

   This Court has the benefit of not writing on a blank canvas; many

   courts     have   considered    nearly       identical    arguments     in    nearly

   identical factual circumstances. 3            See generally, e.g., Crosby v.

   Cox Commc’ns, Inc., No. CV 16-6700, 2017 WL 1549552 (E.D. La. May

   1, 2017); Gremillion v. Cox Commc’ns Louisiana, No. CV 16-9849,


         3 Indeed, it is perplexing that Plaintiffs could, with a
   straight face, suggest that the cases followed by Magistrate Judge
   Almond (including those outlined, infra) are factually inapposite.
   (See Pls.’ Obj. 17.) The Court has compared the facts of these
   cases to the present case and the similarities are manifest.


                                            5
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 6 of 34 PageID #: 7488



   2017 WL 1321318 (E.D. La. Apr. 3, 2017); Roslov v. DirecTV Inc.,

   218 F. Supp. 3d 965 (E.D. Ark. 2016); Thornton v. Charter Commc’ns,

   LLC, No. 4:12CV479 SNLJ, 2014 WL 4794320 (E.D. Mo. Sept. 25, 2014);

   Zampos v. W & E Commc’ns, Inc., 970 F. Supp. 2d 794 (N.D. Ill.

   2013); Valdez v. Cox Commc’ns Las Vegas, Inc., No. 2:09-CV-01797-

   PMP, 2012 WL 1203726 (D. Nev. Apr. 11, 2012); Lawrence v. Adderley

   Indus., Inc., No. CV-09-2309 SJF ETB, 2011 WL 666304 (E.D.N.Y.

   Feb. 11, 2011); Smilie v. Comcast Corp., No. 07-CV-3231, 2009 WL

   9139890 (N.D. Ill. Feb. 25, 2009); Jacobson v. Comcast Corp., 740

   F. Supp. 2d 683 (D. Md. 2010); Herman v. Mid-Atl. Installation

   Servs., Inc., 164 F. Supp. 2d 667 (D. Md. 2000), aff’d sub nom.

   Chao v. Mid-Atl. Installation Servs., Inc., 16 F. App’x 104 (4th

   Cir. 2001); Santelices v. Cable Wiring, 147 F. Supp. 2d 1313 (S.D.

   Fla. 2001).      Each of those courts, in considering the totality of

   the   circumstances    of   substantially    analogous      facts,   granted

   summary judgment for the defendant-cable company.               Magistrate

   Judge   Almond    considered   these   decisions,   where    other   federal

   district courts principally tested the facts and arguments against

   the same four-factor standard. And he correctly deemed them highly

   persuasive.      Like Magistrate Judge Almond, this Court finds these

   cases highly persuasive, and Plaintiffs have not convincingly

   explained why the circumstances of this particular case are any

   different than the near-dozen cases in which summary judgment was

   granted on the issue of joint-employment on practically identical

                                          6
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 7 of 34 PageID #: 7489



   facts.

         The best Plaintiffs can do is to exclusively rely on an

   outlier case, Perez v. Lantern Light Corp., No. C12-01406 RSM,

   2015 WL 3451268 (W.D. Wash. May 29, 2015).            (See, e.g., Pls.’ Obj.

   13-19, 23, 28, 31, 40, 47.)        Alas, the persuasiveness of this case

   does not increase with the number of times Plaintiffs cite to it

   in their objection.           Plaintiffs suggest that Magistrate Judge

   Almond, in refusing to follow this case’s reasoning, “[i]mproperly

   reject[ed]    the     most     authoritative    and     factually    apposite

   case . . . merely      because     M+M’s   contract     with   Cox   was    not

   exclusive, even though M+M has never worked for another cable

   company and is totally economically dependent upon Cox . . . .”

   (Pls.’ Obj. 2.)     But each fact that Plaintiffs attach significance

   to from Perez is present in abundance in the other cases in which

   summary judgment was granted, and – as Magistrate Judge Almond

   recognized – this case is factually distinguishable from Perez in

   more fundamental and material ways.            (See R. & R. 18 n.2.); see

   also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)

   (“As to materiality, the substantive law will identify which facts

   are material.       Only disputes over facts that might affect the

   outcome of the suit under the governing law will properly preclude

   the   entry   of    summary    judgment.    Factual      disputes    that   are

   irrelevant or unnecessary will not be counted.”).              For instance,

   Plaintiffs pinpoint a “laundry list of similar facts” shared

                                         7
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 8 of 34 PageID #: 7490



   between the instant case and Perez, including, among other things,

   Cox requiring background checks, qualifications to install cable,

   collecting quality control data on installers, requiring uniforms,

   badges, and logos on vehicles, and providing payment on a “piece

   rate.”    (Pls.’ Obj. 15.)      Just as these facts did not compel the

   conclusion that cable companies were joint employers in other,

   factually similar cases, they do not do so here.                   See, e.g.,

   Crosby, 2017 WL 1549552, at *5 (“But simply requiring a background

   check     has   not   been    found    sufficient   to     conclude   that    a

   communication company possesses authority to hire and fire.”);

   id., at *7 (“[T]he purpose of identifying Cox on the technician’s

   badge and vehicle is to ensure customer safety and the purpose of

   the surveys and quality control checks is to ensure satisfaction

   of Cox customers.       These examples do not amount to day to day

   supervision or control of a . . . technician’s schedule or working

   conditions.”); Zampos, 970 F. Supp. 2d at 804 (“Plaintiffs argue

   that Comcast plays a significant role in determining how much W & E

   technicians are paid simply because it pays W & E on a per service

   basis, itemizes how long work tasks should take, and associates

   point value and hourly rates for each job.          The Court rejects this

   argument.”); Jacobson, 740 F. Supp. 2d at 692 (“An employee’s

   income,    received    from    its    direct   employer,    will   always    be

   determined and influenced by what a contractor decides to pay the

   direct employer for services rendered by the employee.”); id. at

                                           8
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 9 of 34 PageID #: 7491



   690    (“Therefore,    detailed      instructions    and     a    strict    quality

   control mechanism will not, on their own, indicate an employment

   relationship.”).

          Perez is distinguishable in more significant ways.                   Despite

   Plaintiffs’ attempt to minimize this fact, as Magistrate Judge

   Almond recognized, it matters that this case lacks the “exclusivity

   language” present in Perez.            2015 WL 3451268, at * 6 (noting

   DirecTV    “Services      Provider     Agreement”    included       “exclusivity

   language” that “forbade [installation company] and its Installers

   from    serving   companies       offering      comparable       programming      or

   television    services”);     cf.     Crosby,    2017   WL       1549552,    at   *5

   (“Importantly, because the contract with Cox is not exclusive,

   [the installation company] is not precluded from obtaining other

   installation work . . . .” (emphasis added)).                    Here too, it is

   undisputed that the installation company, M+M, could have chosen

   to contract with other cable companies.             (Compare Pls.’ Statement

   of Disputed Facts, ECF No. 88-2, with Cox’s Statement of Undisputed

   Facts, ECF No. 84, ¶ 17.)             Like the many courts before it to

   consider – and reject - Plaintiffs’ exact argument, the Court is

   not persuaded that Cox is a joint employer of M+M simply because

   M+M chose to only perform work for Cox.             (See Pls.’ Obj. 16); see

   also Thornton, 2014 WL 4794320, at *2 (granting summary judgment

   despite    that   cable    company     was   installation        company’s     only

   customer where “the Agreement did not bar [installation company]

                                           9
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 10 of 34 PageID #: 7492



   from   contracting       with        other   cable    or   satellite    installation

   companies”); Zampos, 970 F. Supp. 2d at 805 (“W & E’s apparent

   dependence on Comcast simply does not translate into functional

   control by Comcast over W & E technicians.”); Jacobson, 740 F.

   Supp. 2d at 693 (“Installation Companies work primarily, if not

   exclusively, for Comcast.              However, . . . a single client base is

   not    a   proxy   for       joint    employment      because   it    is   ‘perfectly

   consistent     with      a     legitimate         subcontracting     relationship.’”

   (quoting Zheng v. Liberty Apparel Co., 355 F.3d 61, 72 (2d Cir.

   2003))).

          What remains of Plaintiffs’ Objection is simply a parroting

   of arguments previously made to Magistrate Judge Almond — arguments

   that he appropriately rejected.                   While review of the Magistrate

   Judge’s R&R is de novo, it is not an opportunity to re-run every

   argument made to the Magistrate Judge.                     See Sackall v. Heckler,

   104 F.R.D. 401, 402-03 (D.R.I. 1984) (“[I]f the magistrate system

   is to be effective, and if profligate wasting of judicial resources

   is to be avoided, the district court should be spared the chore of

   traversing ground already plowed by the magistrate [judge] except

   in those areas where counsel . . . can in good conscience complain

   to the district judge that an objection to a particular finding or

   recommendation is ‘well grounded in fact and is warranted by

   existing law . . . .’” (quoting Fed. R. Civ. P. 11)); see also

   Gonzalez-Ramos v. Empresas Berrios, Inc., 360 F. Supp. 2d 373, 376

                                                10
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 11 of 34 PageID #: 7493



   (D.P.R. 2005) (“The objections . . . are not to be construed as a

   second opportunity to present the arguments already considered by

   the Magistrate-Judge.”).        Magistrate Judge Almond considered the

   totality of the circumstances of this case in the light most

   favorable    to    Plaintiffs   through      the   four-factor    test    from

   Baystate.    (See R. & R. 15-22.)    In spite of Plaintiffs’ Objection,

   the Court is satisfied with his analysis and adopts it.            The Court

   has   considered     Plaintiffs’    other    arguments,   which    it    deems

   unpersuasive.

         Accordingly,    the   Court   GRANTS    Cox’s   Motion     for    Summary

   Judgment (ECF No. 83).          Plaintiffs’ Cross-Motion for Summary

   Judgment (ECF No. 89) is therefore DENIED.

   IT IS SO ORDERED.




    William E. Smith
    Chief Judge
    Date: March 30, 2018




                                        11
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 12 of 34 PageID #: 7494



                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND


   JUAN SIGUI, et al.                              :
                                                   :
   v.                                              :      C.A. No. 14-442-WES
                                                   :
   M&M COMMUNICATIONS, INC.,                       :
   et al.                                          :


                               REPORT AND RECOMMENDATION

   Lincoln D. Almond, United States Magistrate Judge


          Pending before me for a report and recommendation (28 U.S.C. § 636(b)(1)(B)) are

   Defendant Cox Rhode Island Telecom, LLC and Coxcom, LLC’s (collectively “Cox”) Motion for

   Summary Judgment (ECF Doc. No. 83) and Plaintiffs’ Combined Cross-Motion for Summary

   Judgment and Objection to Cox’s Motion. (ECF Doc. No. 89). In this Motion, Cox maintains that,

   as a matter of law, it was not Plaintiffs’ employer under either the Fair Labor Standards Act

   (“FLSA”) or the Rhode Island Minimum Wage Act (“RIMWA”), and thus it must be dismissed as a

   Defendant in this lawsuit. For the following reasons, I recommend that Cox’s Motion (ECF Doc.

   No. 83) be GRANTED and Plaintiffs’ Cross-Motion (ECF Doc. No. 89) be DENIED.

          I.      Facts

          Cox provides cable, telephone, internet and communication services to residents and

   businesses in the state of Rhode Island and throughout parts of the United States. (ECF Doc. No. 84

   at ¶ 1). Third-party cable installation companies provide installation and maintenance services to

   Cox’s customers. Id. at ¶ 2. Cox customers buy services and cable equipment from Cox in order to

   have access to television, internet and/or telephone services in their homes. Id. at ¶ 3. M+M,

   founded in 1996, is engaged in the cable, Internet, telephone and telecommunications installation

   business. Id. at ¶ 4. Cox contracted with M+M to perform installation and maintenance services on
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 13 of 34 PageID #: 7495



   cable television, internet, telephone lines and equipment to Cox customers throughout Rhode Island.

   Id. at ¶ 5.

            Since 2011, Cox entered into four Field Service Agreements (“FSAs”) with M+M, each of

   which governed the terms of their business relationship. Id. at ¶ 6. Under the terms of the FSA,

   M+M provided installation and maintenance services to Cox through M+M’s Field Service

   Technicians (hereinafter “Technicians”). Id. at ¶ 7. The FSAs between Cox and M+M stated that

   M+M’s Technicians were independent contractors and not employees of Cox. Id. at ¶ 8. The FSAs

   also state that “[c]ontractor’s obligations to comply with Applicable Laws does not create the

   relationship of employer-employee between Cox and either Contractor or any of Contractor’s

   Personnel.” Id. at ¶ 10. The FSAs state that neither M+M, “nor its Personnel is, nor shall become,

   Cox’s employee or agent, and that this Agreement does not establish a partnership or joint venture

   between either Contractor and Cox or Contractor’s Personnel and Cox.” Id. at ¶11. Cox and M+M

   each have their own owners, officers, directors, managers, supervisors, policies and procedures. Id.

   at ¶ 12. Cox has no ownership interest or financial interest in M+M, and M+M has no ownership

   interest or financial interest in Cox, nor does Cox reimburse M+M for any of its business expenses.

   Id. at ¶ 13.

            M+M is owned by Michael Jackman and was managed by Defendant William Dowling

   (“Dowling”), General Manager, at all relevant times. Id. at ¶ 14. M+M’s facility is located in

   Warwick, Rhode Island and also has related operations throughout the United States. Id. at ¶ 15.

   Cox required M+M to store the materials necessary to perform work for Cox at M+M’s facility; and

   to ensure it was properly staffed, climate controlled and fire-protected. (ECF Doc. No. 88-2 at ¶ 15).

   Cox’s Rhode Island facility is located in West Warwick, Rhode Island; M+M does not have any

   interest in Cox’s offices. (ECF Doc. No. 84 at ¶ 16). M+M is not required to work only for Cox. Id.

   at ¶ 17. Although M+M is not required to work only for Cox, M+M has worked solely for Cox since

   2011. Id. at ¶ 18.

                                                    -2-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 14 of 34 PageID #: 7496



          M+M has its own dispatch personnel and supervisory personnel who work with and monitor

   M+M’s Technicians; none of M+M’s employees are directly employed by Cox or report to anyone

   employed by Cox. Id. at ¶ 19. Cox monitored M+M’s compliance with its requirements by holding

   weekly meetings with Dowling. (ECF Doc. No. 88-2 at ¶ 19). M+M develops its own personnel

   policies; these personnel policies differ from Cox’s personnel policies. (ECF Doc. No. 84 at ¶ 20).

   During its contractual relationship with Cox, M+M provided services to Cox through skilled

   Technicians (including many Technicians with prior cable installation experience) who were hired or

   contracted solely by M+M. Id. at ¶ 21. The FSA set forth certain standards that a potential M+M

   hire must meet including: passing a background check, drug screening, identifying verification and

   various other requirements. (ECF Doc. No. 88-2 at ¶ 3). At all relevant times, Cox had the authority

   to, “at any time without cause upon at least fourteen (14) days’ prior written notice to Contractor,”

   terminate its relationship with M+M. (ECF Doc. No. 84 at ¶ 22).

          Plaintiff Juan Carlos Sigui worked with M+M as a Technician in June 2010 and was fired by

   Dowling, M+M’s General Manager, in 2012; was again hired by M+M by Dowling shortly thereafter

   in 2012 and worked as a Technician for M+M until he was again fired by Dowling in May 2014. Id.

   at ¶ 23. Plaintiff Jose Sigui worked with M+M as a Technician from 2010 until he was fired by

   Dowling on May 10, 2014. Id. at ¶ 24. Plaintiff Jose Santos worked with M+M as a Technician

   from 2009 to 2014, when he submitted his voluntary resignation to M+M. Id. at ¶ 25. Plaintiff

   Joseph Mendez worked with M+M as a Technician from February 2009 until early 2013 when he

   was terminated from M+M by Dowling; Joseph Mendez was again hired by M+M shortly thereafter

   in early 2013 and remained at M+M as a Technician until he was fired by Dowling on January 17,

   2014 for refusing to drive a route to western Rhode Island. Id. at ¶ 26. Jose Cipriano worked with

   M+M as a Technician from 2010 until he was fired from M+M by Dowling in May 2014. Id. at ¶ 28.

          Cox did not hire, or instruct M+M to hire, M+M’s Technicians, nor did it have the authority

   to do so. Id. at ¶ 32. Plaintiffs completed M+M applications to work for M+M. Id. at ¶ 33.


                                                    -3-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 15 of 34 PageID #: 7497



   Plaintiffs submitted their completed applications to M+M, not Cox. Id. at ¶ 34. Plaintiffs submitted

   resumes, if any, to M+M, not Cox. Id. at ¶ 35. Plaintiffs did not submit any documents of any kind

   to Cox during their application process with M+M. Id. at ¶ 36. Once an individual was hired by

   M+M, Cox stored their name and unique Identification Number, as well as results from the

   “Qualified Cox Contractor Requirements Program,” including various background checks. (ECF

   Doc. No. 88-2 at ¶ 36). Plaintiffs were interviewed, if at all, by Dowling at M+M’s facilities. (ECF

   Doc. No 84 at ¶ 37). Plaintiffs were not interviewed by any Cox employee nor were their interviews

   conducted on Cox’s premises. Id. at ¶ 38. Plaintiffs did not speak with any Cox employee during the

   hiring process by M+M. Id. at ¶ 39. Plaintiffs were hired by Dowling to work as Technicians for

   M+M. Id. at ¶ 40. No Cox employee hired Plaintiffs to work for M+M. Id. at ¶ 41. After being

   hired by M+M, M+M Technicians signed paperwork prepared by M+M and submitted new hire

   paperwork to M+M, not Cox. Id. at ¶ 42. After being hired by M+M, but before performing work

   for Cox customers, Plaintiffs completed a criminal background check and drug screening to ensure

   the safety of Cox’s customers. Id. at ¶ 43. After being hired by M+M, but before performing work

   for Cox customers, M+M Technicians were required to meet the Cox Qualified Contractor

   Requirements Program, which required that they take a certification exam at M+M’s facility. Id. at ¶

   44. For an M+M Technician to be authorized to perform work for Cox customers, the M+M

   Technician was required to submit to a criminal background check, drug screen and certification, as

   well as other tests within Cox’s discretion. Id. at ¶ 45; (ECF Doc. No. 88-2 at ¶ 45). The criminal

   background check and drug screening are performed by a third-party vendor, InfoMart, who provides

   the results of such testing to M+M, not Cox. (ECF Doc. No. 84 at ¶ 46). M+M informed Cox that

   Plaintiffs satisfactorily completed the background check, drug screen and certification process, and

   Cox then authorized Plaintiffs to perform work for Cox’s customers. Id. at ¶ 47. Cox then issued

   technician numbers and identification badges. Id. at ¶ 48.




                                                    -4-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 16 of 34 PageID #: 7498



          M+M fired Plaintiffs, and other M+M Technicians, without first advising Cox and without

   Cox’s input. Id. at ¶ 49. No Plaintiff was fired by a Cox employee. Id. at ¶ 51. Cox did not have

   the authority to terminate, nor did it suggest M+M terminate, any Plaintiff’s relationship with M+M;

   rather, Cox only had the authority to de-authorize an M+M Technician from performing services for

   Cox “if there is a violation of law, a customer grievance or other reason affecting the safety of Cox’s

   customers or the quality of Cox’s services…” Id. at ¶ 52. M+M was free to retain any Technician

   de-authorized by Cox to serve in another capacity for M+M. Id. at ¶ 52(a).

          Cox customers in need of Cox services contacted Cox, by telephone or on the Internet, to

   request services. Id. at ¶ 53. Cox’s customers decide on a two-hour window of time for a service

   call. Id. at ¶ 54. After a customer requests services, a work order for each request is generated in

   ICOMS, Cox’s billing system. Id. at ¶ 56. Only M+M Managers and Dispatchers – not M+M

   Technicians – have access to ICOMS. Id. at ¶ 57. M+M would report to Cox on a daily basis with

   respect to the number of Technicians, and each Technician’s Identification Number, it had available

   for work on a given day. Id. at ¶ 58.

          Prior to 2014, Cox’s work orders were routed, in bulk fashion, to M+M. Id. at ¶ 59. Prior to

   2014, after receiving batches of work orders from Cox via ICOMS, M+M assigned work orders to its

   Technicians at M+M’s sole discretion. Id. at ¶ 60. In and after 2014, information regarding Cox’s

   work orders in ICOMS is placed into a web-based automatic routing computer program called

   “ETA.” Id. at ¶ 61. ETA is not a proprietary program of Cox. Id. at ¶ 62. M+M Technicians who

   were authorized to perform services for Cox customers each had an Identification Number assigned

   by Cox. Id. at ¶ 63. The ETA system would then shuffle work orders to M+M, placing work orders

   under a Technician Number. Id. at ¶ 64. M+M was then able to manipulate the work orders in ETA

   and would assign work orders to its Technicians at its discretion. Id. at ¶ 65. Cox was not informed

   of changes made to ETA routing by M+M, did not monitor or track changes made to ETA auto-




                                                     -5-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 17 of 34 PageID #: 7499



   routing and did not utilize or review ETA. Id. at ¶ 66. At no time did Cox assign work orders to any

   of M+M’s Technicians. Id. at ¶ 67.

          Every workday morning M+M Technicians, including Plaintiffs, reported to work at M+M’s

   facilities between 7:30 and 8:00 a.m. Id. at ¶ 69. Plaintiffs were required by M+M, and not Cox, to

   report to the M+M facility each morning. Id. at ¶ 70. Upon arriving at M+M’s facility in the

   morning, Plaintiffs would return to M+M any equipment they did not use the prior work day. Id. at ¶

   71. M+M Technicians, including Plaintiffs, would wait at M+M’s facilities from their time of arrival

   until Dowling provided them with work assignments for the day. Id. at ¶ 72. Each morning,

   Dowling spent between thirty minutes to 1.5 hours accessing ICOMS or ETA to assign work orders

   to M+M Technicians. Id. at ¶ 73. Even when M+M Technicians, including Plaintiffs, had access to

   ETA, they had to wait for Dowling to provide their work assignments. Id. at ¶ 74. At all times,

   M+M had complete control over how the work orders were assigned to M+M Technicians, including

   Plaintiffs, and determined Plaintiffs’ schedules based on Plaintiffs’ personal preferences and to

   maximize efficiency. Id. at ¶ 75.

          Plaintiffs, and other M+M Technicians, received ETA and/or ICOMS printouts showing the

   work orders they were assigned to complete for the day from M+M through Dowling and/or M+M

   dispatchers. Id. at ¶ 77. Once Plaintiffs received their daily work orders from Dowling, Plaintiffs

   went to M+M’s warehouse to pick up the equipment required to complete their work orders for the

   day. Id. at ¶ 78. After retrieving their equipment from M+M’s warehouse, Plaintiffs traveled to

   customer homes to complete their work orders without the supervision of any Cox employee. Id. at ¶

   79.

          During the day, Dowling and M+M’s dispatchers could make changes to Technicians’ work

   schedules, taking away or adding work orders without notifying Cox. Id. at ¶ 80. Plaintiffs, and other

   M+M Technicians, were required to call an M+M dispatcher at the end of the day before going home

   to notify M+M that their work orders were complete. Id. at ¶ 81. If an M+M Technician used an


                                                    -6-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 18 of 34 PageID #: 7500



   M+M van to complete their work, the M+M Technician was required to return the van to M+M at the

   end of their work day. Id. at ¶ 82. If Plaintiffs were running late to work, wanted to leave work

   early, wanted time off of work for sick leave or vacation, or had questions about their schedules, they

   contacted M+M. Id. at ¶ 83. If an emergency arose and Plaintiffs needed to leave work or call out of

   work, they would contact Dowling at M+M, not Cox. Id. at ¶ 84. M+M Technicians were trained by

   M+M personnel, not by Cox. Id. at ¶ 85.

           Cox provided the training materials and required M+M to provide specific types and content

   of training to Technicians.    Cox also required M+M to verify that Technicians completed the

   required training. (ECF Doc. No. 88-2 at ¶ 85). M+M Technicians who lacked recent experience in

   cable installation received training, when they began work for M+M, that included riding along with

   an experienced M+M Technician for several days. (ECF Doc. No. 84 at ¶ 86. Cox did not conduct

   training for M+M’s Technicians. Id. at ¶ 87. Cox provided training and/or product information only

   to M+M’s management, not to M+M’s Technicians, such as Plaintiffs. Id. at ¶ 88.

           Cox did not instruct M+M on how to train its personnel. Id. at ¶ 89. M+M required

   Plaintiffs to attend weekly training meetings conducted by Dowling and held at M+M’s facility. Id.

   at ¶ 90. Cox did not require M+M Technicians, including Plaintiffs, to attend training. Id. at ¶ 91.

   M+M conducted weekly mandatory meetings for its Technicians that Cox’s manager of vendor

   management would sometimes observe and attend.              Cox would not schedule any work for

   Technicians during this scheduled M+M meeting. (ECF Doc. No. 88-2 at ¶ 91). There were only, at

   most, two meetings at M+M in which a Cox employee spoke. (ECF Doc. No. 84 at ¶ 92). On one of

   these occasions the Cox employee spoke only to state he did not “have to talk to you [Technicians]”

   because he was present to speak with M+M management, not its Technicians. Id. at ¶ 93. M+M, not

   Cox, instructed Plaintiffs to complete online training through Skillport. Id. at ¶ 94.

           M+M Technicians’ work performance was supervised by M+M personnel. Id. at ¶ 95. Cox

   monitored and evaluated Technicians’ performance to ensure that it met performance standards


                                                      -7-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 19 of 34 PageID #: 7501



   established by Cox. (ECF Doc. No. 88-2 at ¶ 95). Plaintiffs were supervised by Shawn Harrell, an

   M+M Supervisor; Pedro Arias, an M+M Supervisor; and Dowling. (ECF Doc. No. 84 at ¶ 96). In

   April or May 2014, M+M promoted Plaintiff Juan Sigui to a supervisory position over M+M’s

   Technicians, and increased his rate of pay; Cox was not aware of, and did not have any input

   regarding, Juan Sugui’s promotion. Id. at ¶ 97. For two weeks, at the end of his employment,

   Plaintiff Juan Sigui supervised Plaintiffs and other M+M Technician’s work performance. Id. at ¶

   98. Cox had no involvement or input with respect to M+M’s decision to promote Plaintiff Juan

   Sigui. Id. at ¶ 99. Cox did not instruct M+M with respect to its decisions to promote and/or demote

   M+M Technicians, nor did Cox have the authority to do so. Id. at ¶ 100. No Cox employee

   supervised Plaintiffs’ work performance. Id. at ¶ 101.

          While M+M Technicians are required to install Cox equipment according to specifications,

   the specifications are required to ensure adherence to national electric codes and the safety of Cox’s

   customers. Id. at ¶ 103. Cox did not discipline Plaintiffs or any M+M Technicians. Id. at ¶ 104.

   Only M+M instructed Plaintiffs with respect to Plaintiffs’ work performance; Cox did not instruct

   Plaintiffs with respect to their work performance. Id. at ¶ 105. M+M coached its Technicians

   regarding performance deficiencies without Cox’s knowledge or direction. Id. at ¶ 106. Cox did not

   evaluate Plaintiffs’ work performance. Id. at ¶ 107.

          Cox did not provide any documents or paperwork to any M+M Technician, including

   Plaintiffs. Id. at ¶ 108. Plaintiffs did not submit any paperwork to Cox throughout their tenure with

   M+M. Id. at ¶ 109. All documents received and/or obtained by Plaintiffs regarding their work for

   M+M was provided to Plaintiffs by M+M, not Cox. Id. at ¶ 110. Cox did not instruct Plaintiffs, or

   other M+M Technicians, in how to perform their work. Id. at ¶ 111. Cox did not tell Plaintiffs, or

   other M+M Technicians, what to say to Cox customers. Id. at ¶ 112.

          In the four years that Plaintiff Juan Sigui worked at M+M: (a) he spoke with Stuart Moody, a

   Cox employee, only once, during a meeting; and (b) he interacted with Kathy Smith, a Cox lead


                                                    -8-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 20 of 34 PageID #: 7502



   bucket truck Technician, only two times, once when Smith was at a customer home and she asked

   Juan Sigui for assistance and once when Juan Sigui arrived at Smith’s father’s home to complete a

   job. Id. at ¶ 113. Plaintiff Jose Sigui only spoke to a Cox employee on four occasions in his four

   years of work at M+M, (a) he interacted with Smith one time in his four years of work for M+M to

   discuss a cable line; and (b) he had two conversations with Richard Sheehan1 when Jose Sigui went

   to Cox’s premises to obtain his work badge and to calibrate his meter, (c) he spoke with Tony

   Oliveria one time in which he complained to Tony Oliveria that he made a comment about a loose

   fitting at the pole. Id. at ¶ 114. During Plaintiff Jose Santos’s five years at M+M, other than seeing

   Tony Oliveria on occasion, he only saw Smith and Stuart Moody once each. Id. at ¶ 115. During

   Plaintiff Jose Cipriano’s four-year tenure with M+M he spoke with a Cox employee on only two

   occasions: (a) he interacted with Tony Oliveria on only one occasion; and (b) he interacted with

   Smith only one time, when he arrived at a customer site to assist her in completing a work order. Id.

   at ¶ 116. During Plaintiff Joseph Mendez’s more than four years at M+M, he did not interact with a

   single Cox employee. Id. at ¶ 117.

          Kevin O’Connell is Cox’s Director of Vendor Management and was the Manager of Vendor

   Management for Cox’s operations in Rhode Island at all relevant times and was responsible for

   Cox’s third-party contractors in Rhode Island, Connecticut and Cleveland, Ohio. Id. at ¶ 119. Cox

   supervisors were not present and/or did not supervise Plaintiffs when they installed equipment in

   customer homes. Id. at ¶ 120. Plaintiffs did not see or interact with Kevin O’Connell during their

   respective tenures with M+M. Id. at ¶ 121. At their hire, Dowling set and informed Plaintiffs of

   their rate and method of pay. Id. at ¶ 122. Cox did not pay Plaintiffs. Id. at ¶ 123. Cox did not

   instruct M+M with respect to how to pay its Technicians and had no input into Plaintiffs’ pay

   structure. Id. at ¶ 124. Cox paid M+M, according to the terms of the applicable FSA, under a point-

   based system. Id. at ¶ 125. Cox did not determine how M+M paid Plaintiffs under the FSAs or

      1
           Richard Sheehan was a Supervisor for Vendor Management over Connecticut and Cleveland, Ohio;
   Richard Sheehan had no responsibility regarding Cox’s vendors in Rhode Island.

                                                    -9-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 21 of 34 PageID #: 7503



   otherwise. Id. at ¶ 126. Cox was not aware of how, and had no involvement with respect to how,

   M+M paid its Technicians. Id. at ¶ 127. The FSAs between Cox and M+M do not have any terms

   with respect to how M+M pays its Technicians. Id. at ¶ 128. M+M had sole discretion and authority

   in determining how to pay its Technicians. Id. at ¶ 129. Cox did not instruct M+M with respect to

   how it paid its Technicians. Id. at ¶ 130. Cox did not issue paychecks to Plaintiffs. Id. at ¶ 131.

   M+M issued paychecks to its Technicians, including Plaintiffs. Id. at ¶ 132. M+M, and not Cox,

   issued Plaintiff’s IRS Forms W-2 and/or 1099, and Plaintiffs identified M+M as their employer on

   their respective tax returns. Id. at ¶ 133. M+M Technicians did not discuss their pay with Cox. Id. at

   ¶ 134. No Cox employee ever spoke to any Plaintiffs regarding their pay or provided Plaintiffs any

   documents regarding their pay. Id. at ¶ 135.

          M+M Technicians, including Plaintiffs, did not receive any employment benefits (e.g.,

   vacation) or insurance coverage (i.e., liability insurance, workers’ compensation insurance, vehicle

   insurance or medical, dental or health insurance) from Cox. Id. at ¶ 136. M+M independently

   determined whether to back charge Plaintiffs for improperly completed work, and Plaintiffs were

   informed of alleged chargebacks by M+M, and not Cox. Id. at ¶ 137. Cox did not instruct M+M to

   back charge or otherwise instruct Cox to deduct amounts from any Plaintiff (or any M+M

   Technician), nor did it have the authority to do so. Id. at ¶ 138. M+M Technicians were promoted

   and/or demoted solely by M+M. Id. at ¶ 139. Plaintiff Juan Sigui was promoted by M+M to the

   position of Supervisor, and provided a raise by M+M, in the last two weeks of his tenure with M+M.

   Id. at ¶ 140. Cox has no authority with respect to the decision by M+M to promote and/or increase

   the pay of M+M’s Technicians and was not aware of and did not have any input into his promotion

   by M+M. Id. at ¶ 141.

          Plaintiffs’ time sheets were submitted to, and are maintained by, M+M. Id. at ¶ 142. No Cox

   employee instructed any Plaintiff regarding how to complete their respective time sheets, nor was

   Cox aware of the hours worked by Plaintiffs at M+M. Id. at ¶ 143. The only information pertaining


                                                    -10-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 22 of 34 PageID #: 7504



   to Plaintiffs retained by Cox is the information relevant to each Plaintiff’s identification badge (i.e.,

   Plaintiffs’ names and Technician Identification Numbers) and the quality control information stored

   on an application called QEDataMax. Id. at ¶ 144. Cox did not retain Plaintiffs’ personal identifying

   information. Id. at ¶ 145. Cox does not maintain employment records (personnel files, payroll

   records, performance evaluations and benefits information) for M+M’s Technicians. Id. at ¶ 146.

           Plaintiffs did not work at or out of Cox’s facilities. Id. at ¶ 147. The only time Plaintiffs

   were on Cox’s premises was to obtain their identification badge and, on one occasion, to calibrate a

   meter needed to work with Cox equipment. Id. at ¶ 148. Plaintiffs worked out of M+M’s facility. Id.

   at ¶ 149. With regard to the specific cables, modems and other equipment that M+M Technicians

   install in customer homes, Cox supplies M+M with this equipment in bulk fashion, and M+M stores

   the equipment in its warehouse and distributes it to its Technicians at its discretion. Id. at ¶ 150.

   Plaintiffs paid for the vehicles they used when working as Technicians at M+M, including all vehicle

   maintenance and insurance costs. Id. at ¶ 151. Plaintiffs used their own tools (including drills,

   meters, ladders and hand tools) when completing work for M+M. Id. at ¶ 152. Cox did not provide

   any tools to Plaintiffs; a Cox vendor provided Jose Cipriano a pair of crimpers, Jose Mendez a

   “compression tool,” and Jose Sigui a pair of crimpers and a torque wrench. Id. at ¶ 153. M+M, and

   not Cox, was responsible for M+M Technicians’ equipment and materials. Id. at ¶ 154. Cox

   equipment (i.e., the cable equipment that its customers had purchased or leased from Cox to be

   installed in their homes) must be used to provide Cox services. Id. at ¶ 155.

           Cox required M+M, when performing services for Cox, to use a logo identifying M+M as a

   vendor for Cox “for our customer’s safety and security reasons.” Id. at ¶ 156. Plaintiffs were

   required to wear a uniform by M+M. Id. at ¶ 157. Either Plaintiffs paid for their uniforms, or M+M

   provided uniform shirts to Plaintiffs which stated “M+M” and “contractor” for Cox. Id. at ¶ 158. At

   all relevant times, M+M was required to have a safety program in place, in compliance with Cox

   Contractor Environmental, Safety and Health Program. Id. at ¶ 159. M+M was also required to


                                                     -11-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 23 of 34 PageID #: 7505



   comply with the National Quality Control Program “to ensure the safety of Cox customers, to ensure

   the reliability of service to Cox customers, both individually and collectively, to make sure that the

   customer is satisfied.” Id. at ¶ 160. Cox required M+M to complete a “Certificate of Compliance”

   affirming that it was “in compliance with the FLSA and applicable wage and hour laws for the states

   in which it has contracted to do work with Cox, including…Rhode Island….” Id. at ¶ 161.

          Cox performed random quality control inspections of work completed by M+M Technicians

   to ensure the safety and satisfaction of its customers and to ensure M+M provided the services it was

   contractually obligated to provide. Id. at ¶ 162. Cox performed quality control inspections on 2% to

   2.5% of the work completed by M+M Technicians. Id. at ¶ 163. Tony Oliveria was Cox’s Quality

   Control Supervisor responsible for M+M. Id. at ¶ 164. The only time that a Cox employee was

   present at customer homes in which Plaintiffs were working was to conduct random quality control

   inspections. Id. at ¶ 165. Plaintiffs did not interact with Tony Oliveria, beyond small pleasantries.

   Id. at ¶ 166. Tony Oliveria did not instruct Plaintiffs with respect to any work rules, nor did he

   supervise Plaintiffs’ work performance. Id. at ¶ 167.

          No Cox employee discussed customer surveys, customer complaints or quality control issues

   with Plaintiffs. Id. at ¶ 168. If Cox received a customer complaint regarding an M+M Technician,

   Cox forwarded that complaint to M+M’s management. Id. at ¶ 169. Customer complaints were

   forwarded from Cox to M+M management so that M+M could use that information at M+M’s sole

   discretion. Id. at ¶ 170. Cox also relayed the information it received through its random quality

   control inspections, to M+M’s management, and it was then solely up to M+M to manage its

   Technicians and take action as M+M deemed appropriate. Id. at ¶ 171.          Cox conducted quality

   control inspections to ensure that its equipment was being installed correctly and in a safe manner

   and to ensure its customers were satisfied. Id. at ¶ 172. For safety reasons, and to ensure the

   customers feel at ease, M+M required Plaintiffs to display a Cox logo on their work vehicles. Id. at ¶

   173. For safety reasons, Plaintiffs were required to wear a badge that stated “M+M” and “Contractor


                                                    -12-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 24 of 34 PageID #: 7506



   for Cox Communications” when Plaintiffs performed work for M+M at Cox’s customers’ homes. Id.

   at ¶ 174. Plaintiffs wore a badge identifying them as Cox contractors so that customers knew

   Plaintiffs were authorized to work on Cox equipment when they arrived at customers’ homes. Id. at

   ¶ 175.

            M+M received Quality Control Inspection Reports from Cox through QEDataMax. Id. at ¶

   176. QEDataMax and/or Quality Control Inspection Reports on QEDataMax were not accessible to

   M+M’s Technicians. Id. at ¶ 177. Pursuant to the terms of the FSAs, Cox issued chargebacks to

   M+M (not its Technicians) for failed quality control inspections. Id. at ¶ 178. Cox was not aware of,

   nor did Cox have any involvement in, the quality control inspections performed by M+M. Id. at ¶

   179. M+M alone determined whether, and in what amount, it charged back its Technicians based on

   the quality control inspections performed by Cox and/or M+M. Id. at ¶ 180. M+M’s General

   Manager Dowling logged onto QEDataMax almost every day and pulled up the Quality Control

   Inspection Reports for the previous day. Id. at ¶ 181. Either Dowling or another M+M Supervisor

   determined the Technician who performed the job reflected on the Quality Control Inspection

   Report, of which Cox was not aware. Either Dowling or another M+M Supervisor determined the

   chargeback amount for any failure on the Quality Control Inspection Reports under the terms of the

   FSA. Id. at ¶ 182. Dowling and/or another M+M Supervisor then determined whether to issue a

   chargeback to the Technician who worked the job documented on the Quality Control Inspection

   Report in the same amount M+M was charged back, in some lesser amount (based on M+M’s own

   mathematical formula), or not at all. Id. at ¶ 183, 184. Cox had no involvement in this process and

   had no knowledge of if or how M+M issued chargebacks to its Technicians. Id. at ¶ 185. M+M

   performed quality control inspections of which Cox was not aware, and issued chargebacks to its

   Technicians in its sole discretion as the result of such inspections. Id. at ¶ 186. M+M did not

   provide any documentation or information to Cox with respect to whether it issued chargebacks to its

   Technicians or the amount of any chargebacks it issued to its Technicians. Id. at ¶ 187. M+M could


                                                   -13-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 25 of 34 PageID #: 7507



   (and did) decide not to chargeback Technicians in any amount for the chargebacks Cox issued to

   M+M. Id. at ¶ 188. Cox was not aware of the identity of the Technician who performed the services

   identified in the Quality Control Inspection Report. Id. at ¶ 189.

            II.    Summary Judgment Standard

            A party shall be entitled to summary judgment “if the pleadings, depositions, answers to

   interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

   genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter of

   law.” Fed. R. Civ. P. 56(c). When deciding a motion for summary judgment, the Court must review

   the evidence in the light most favorable to the nonmoving party and draw all reasonable inferences in

   the nonmoving party=s favor. Cadle Co. v. Hayes, 116 F.3d 957, 959 (1st Cir. 1997).

            Summary judgment involves shifting burdens between the moving and the nonmoving

   parties. Initially, the burden requires the moving party to aver “an absence of evidence to support the

   nonmoving party=s case.” Garside v. Osco Drug, Inc., 895 F.2d 46, 48 (1st Cir. 1990) (quoting

   Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)). Once the moving party meets this burden, the

   burden falls upon the nonmoving party, who must oppose the motion by presenting facts that show a

   genuine “trialworthy issue remains.” Cadle, 116 F.3d at 960 (citing Nat=l Amusements, Inc. v. Town

   of Dedham, 43 F.3d 731, 735 (1st Cir. 1995); Maldonado-Denis v. Castillo-Rodriguez, 23 F.3d 576,

   581 (1st Cir. 1994)). An issue of fact is ‘genuine’ if it “may reasonably be resolved in favor of either

   party.” Id. (citing Maldonado-Denis, 23 F.3d at 581).

            To oppose the motion successfully, the nonmoving party must present affirmative evidence

   to rebut the motion. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256-257 (1986). “Even in

   cases where elusive concepts such as motive or intent are at issue, summary judgment may be

   appropriate if the nonmoving party rests merely upon conclusory allegations, improbable inferences,

   [or] unsupported speculation.” Medina-Munoz v. R.J. Reynolds Tobacco Co., 896 F.2d 5, 8 (1st Cir.

   1990).    Moreover, the “evidence illustrating the factual controversy cannot be conjectural or

                                                     -14-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 26 of 34 PageID #: 7508



   problematic; it must have substance in the sense that it limns differing versions of the truth which a

   factfinder must resolve.” Id. (quoting Mack v. Great Atl. & Pac. Tea Co., 871 F.2d 179, 181 (1st Cir.

   1989)). Therefore, to defeat a properly supported motion for summary judgment, the nonmoving

   party must establish a trialworthy issue by presenting “enough competent evidence to enable a

   finding favorable to the nonmoving party.” Goldman v. First Nat=l Bank of Boston, 985 F.2d 1113,

   1116 (1st Cir. 1993) (citing Anderson, 477 U.S. at 249).

           Cross-motions for summary judgment “simply require [the court] to determine whether either

   of the parties deserves judgment as a matter of law on the facts that are not disputed.” Barnes v.

   Fleet Nat’l Bank, N.A., 370 F.3d 164, 170 (1st Cir. 2004) (internal quotation marks and citation

   omitted). The legal standard for summary judgment is not changed when parties file cross-motions

   for summary judgment. Adria Int’l Group, Inc. v. Ferre Dev. Inc., 241 F.3d 103, 107 (1st Cir. 2001).

   “The court must rule on each party’s motion on an individual and separate basis, determining, for

   each side, whether a judgment may be entered in accordance with the Rule 56 standard.”

   Bienkowski v. Northeastern Univ., 285 F.3d 138, 140 (1st Cir. 2002) (internal quotation marks and

   citation omitted).

           Analysis

           A.      Joint Employer Status of Cox under the FLSA

           The relevant provisions of the FLSA apply only to “employers” and their “employees.”

   Under the FLSA, employers must pay their employees a minimum wage. 29 U.S.C. § 206(a). The

   FLSA’s definition of employer is “any person acting directly or indirectly in the interest of an

   employer in relation to an employee.” 29 U.S.C. § 203(d). Additionally, the FLSA recognizes the

   concept of “joint employment,” or a situation in which employers may share control of an employee

   based on common or hierarchical control on behalf of the multiple employers. 29 C.F.R. § 791.2.

   See also Chao v. Hotel Oasis, Inc., 493 F.3d 26, 34 (1st Cir. 2007).



                                                     -15-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 27 of 34 PageID #: 7509



             The First Circuit utilizes the “economic reality” test to evaluate whether there is an

   employer/employee relationship. Baystate Alt. Staffing, Inc. v. Herman, 163 F.3d 668, 677 (1st Cir.

   1998); Hamilton v. Partners Healthcare Sys., Inc., 209 F.Supp.3d 379, 390 (D. Mass. 2016). The

   “economic reality” test is a multi-factor evaluation that considers certain set factors as well as the

   totality of the circumstances. See Baystate, 163 F.3d at 675 (adopting the economic-realities test).

   The Court looks to four “regulatory factors” and roughly eight “nonregulatory factors” when

   determining the economic realities of a purported employment relationship. In considering its

   application of the economic realities test, the First Circuit focuses on whether an alleged employer

   (1) has the power to hire and fire the alleged employee; (2) supervised and controlled employee work

   schedules or conditions of employment; (3) determines the wage rate and method of payment; and

   (4) maintains employment records. See Chesley v. DirectTV, No. 14-cv-468-PB, 2015 WL 3549129

   (D.N.H. June 8, 2015) (citing Baystate, 163 F.3d at 675). In applying the various factors outlined by

   the First Circuit, “the court has recognized that it is the totality of the circumstances, and not any one

   factor, which determines whether a worker is the employee of a particular alleged employer.” Id.

   (internal citations omitted). In order for joint employment to exist, however, there must be “an actual

   employment relationship between the employee and each joint employer.” Hamilton, 209 F.Supp.3d

   at 390.

             In its Motion and Reply, Cox points this Court to several other recent cases that have

   specifically addressed Cox’s liability under the FLSA as a joint employer. Cox argues that although

   these cases arise in other Districts, Cox operates similarly state to state, and the cases provide a

   framework this Court should follow. Cox also points out that, in addition to the cases involving Cox,

   there is a body of case law that has considered the joint employer liability of other

   telecommunications companies and ruled in favor of the telecommunications companies. In short,

   Cox is arguing that the Court should find that the facts demonstrate that it was not a joint employer of

   Plaintiffs because it “had no direct control or supervision of any part of the employment of the

                                                      -16-
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 28 of 34 PageID #: 7510




   technicians with only minimal quality and safety measures such as background checks, customer

   service surveys, identification badges, labeled vehicles, a contract between the installer and

   communication company establishing certain requirements for the performance of services, work

   initially distributed by the communication company but subject to redistribution by the installer

   without consent of the communication company, and an ability of the communication company to

   de-authorize a technician for poor quality work.” Gremillion v. Cox Commc’ns, No. 16-9849, 2017

   WL 1321318 at *4 (E.D. La. April 3, 2017) (citing Thornton v. Charter Commc’ns, LLC, No.

   4:12CV479 SNLJ, 2014 WL 4794320, at *16 (E.D. Mo. Sept. 25, 2014); Valdez v. Cox Commc’ns

   Las Vegas, Inc., No. 2:09-CV-01797-PMP, 2012 WL 1203726, at *6 (D. Nev. Apr. 11, 2012);

   Zampos v. W&E Commc’ns, Inc., 970 F.Supp.2d 794, 805-806 (N.D. Ill. 2013); Jean-Louis v.

   Metro. Cable Commc’ns, Inc., 838 F.Supp.2d 111, 137-138 (S.D.N.Y. 2011); and Jacobson v.

   Comcast Corp., 740 F.Supp.2d 683, 693-694 (D. Md. 2010)).

          Plaintiffs argue that these recent cases are not binding precedent and that they are factually

   dissimilar because M+M had “total economic dependence” on Cox in this case, and that factor sets it

   apart from the cases Cox urges the Court to follow. Plaintiffs make the argument that the “total

   economic dependence” of M+M on Cox “colors all the other facts” even though other Courts have

   found that a similar arrangement was merely “consistent with a legitimate subcontracting

   relationship.” Jacobson, 740 F.Supp.2d at 693. See also Zampos, 970 F.Supp.2d at 805) (stating that

   the “apparent dependence” of the installation company on the cable company “does not translate into

   functional control” by cable company over technicians). This Court declines to place paramount

   significance on the fact that M+M was established to conduct installations for Cox, because the First

   Circuit has never dictated that this factor takes precedence over the “totality of the circumstances” in

   the economic realities test and also because it is clear that M+M was never required to work solely


                                                     17
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 29 of 34 PageID #: 7511




   for Cox, but chose to operate in that manner.2 (ECF Doc. No. 84 at ¶ 17).                        The parties have

   extensively briefed the issues, and the Court has thoroughly reviewed the facts and arguments set

   forth. With the framework of the “economic realities” test and the guidance of Courts that have

   previously considered this issue, the Court undertakes its consideration of whether Cox is a joint

   employer of Plaintiffs.

            1.       Hiring and Firing

            It is undisputed that Cox has no authority to hire or fire M+M Technicians. While some of

   Cox’s contractual requirements impact M+M’s hiring practices, these specifications do not amount to

   direct or even indirect power over hiring and firing. For example, Cox requires that M+M maintain

   qualified and experienced personnel and that Technicians must pass a criminal background check and

   drug screening before Cox will permit them to enter a Cox customer home. These specifications

   amount to minimal quality controls and safety measures and do not indicate that Cox controls which

   applicants are hired or how many.

            Moreover, there is no dispute that Plaintiffs submitted their applications to M+M and that

   Cox did not hire them, M+M did. Under similar circumstances, the District Court for the Eastern

   District of Louisiana recently found that Cox’s lack of involvement in the hiring and firing process

   weighed against a finding of joint employment.                That Court noted that “[s]imply requiring a

   background check has not been found sufficient to conclude that a communication company


       2
             Plaintiffs contend they have “demonstrated exhaustively the similarities” between the facts presented in the
   present case and those present in Perez v. Lantern Light Corp., No. C12-01406 RSM, 2015 WL 3451268 (W.D.
   Wash. May 29, 2015). Plaintiffs argue that Perez is most analogous to this case because the installation company in
   that case lacked a separate economic existence, just as Plaintiffs argue that M+M does in this case. Contrary to
   Plaintiffs’ argument, however, in Perez, the Installation Company was forbidden from “serving companies offering
   comparable programming or television services” via “exclusivity language” in the DirectTV contract. Id. at *6.
   “Under the exclusivity agreement, Installers who did not get DirecTV work orders could perform no alternate
   installation work.” Id. In the present case, the undisputed facts demonstrate that Cox did not dictate who M+M
   could perform work for, instead M+M made a business decision to work solely for Cox. Where a company is
   forbidden from conducting work outside of the parameters of its contract, its economic dependence is
   unquestionable. There is no dispute that the facts in this case are different because M+M is not subject to an
   exclusivity clause. Accordingly, Plaintiffs’ argument that this case closely tracks the facts of Perez is unavailing.
                                                             18
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 30 of 34 PageID #: 7512




   possesses authority to hire and fire.” Gremillion, 2017 WL 1321318 at *5 (citing Thornton, 2014 WL

   4794320 at *2, 14 (finding the communication company was not a joint employer where the

   Technicians applied and interviewed with the install company, although the communication company

   pre-approved Technicians and required background checks); Jean-Louis, 838 F.Supp.2d at 123-124

   (finding the communication company was not a joint employer where the install company

   interviewed and hired Technicians, although the communication company required a background

   check).

             Similarly, in other District Court cases, Plaintiff/Technicians have argued that Cox’s ability

   to deauthorize a Technician equated to the ability to effectively fire Technicians. The Courts that

   have entertained such an argument have roundly rejected it. In Gremillion, for example, the Court

   noted that “[a] technician de-authorized by Cox could be employed by [M+M] elsewhere or could

   perform duties that do not require entry into customers’ homes.” 2017 WL 1321318 at *4. See also

   Thornton, 2014 WL 4794320, at *14 (finding no joint employer relationship although the

   communication company could de-authorize a technician); Jean-Louis, 838 F.Supp.2d at 125 (same);

   but see Perez, 2015 WL 3451268 at *17 (finding a joint employer relationship where the

   communication company could de-authorize a technician pursuant to an exclusive contract with the

   install company). As the Thornton court explained, the ability to de-authorize a technician “was to

   ensure customer safety and quality service” and did “not evidence a joint employer relationship.”

   2014 WL 4794320, at *14; see Zampos, 970 F.Supp.2d at 803 (“To the extent [the communication

   company] plays a role in the hiring and firing process, it is only in the context of quality control,

   safety and security of [its] customers....”). In short, the undisputed facts establish that it was M+M

   that was responsible for hiring and firing its Technicians and the specifications set forth by Cox

   amounted to minimal safety and quality measures. Accordingly, this factor weighs against finding a


                                                      19
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 31 of 34 PageID #: 7513




   joint employment relationship.

          2.      Supervision and Control

          It is undisputed that Cox does not supervise or control the work schedules or conditions of

   employment of M+M Technicians. The method by which Cox’s work orders are distributed to Cox

   changed in 2014, and currently Cox allocates work orders to Technician Numbers via a web-based

   automatic routing program called ETA. M+M can then reassign the work orders as it sees fit for

   efficiency and can do so without discussing with Cox or obtaining Cox’s consent.

          Cox notes that “numerous” recent Federal Court decisions have noted that auto-routing

   computer programs that assign work to a technician number do not evidence control over a Plaintiff-

   installer’s work schedule. See (ECF Doc. No. 96 at p. 20) (citing Valdez, 2012 WL 1203726 at *3-

   4). Coupled with the testimony of Plaintiffs in which they admitted that they reported to M+M

   facilities each morning to receive their work orders from William Dowling and that he could modify

   work orders, Plaintiff’s position that Cox exerted “intensive, specific and micromanaging” control of

   their work schedules is unsupported.     (See ECF Doc. No. 96 at pp. 21-22) (citing Plaintiffs’

   deposition testimony).

          Plaintiffs also broadly contend that Cox dictated the manner, method and mode by which

   M+M Technicians were to complete their work including “the color of ground tags, the type of pen

   used to mark tags, providing product literature, and picking up trash at the work site.” (ECF Doc.

   No. 88-1 at p. 16.) In its Reply, Cox argues that all of the examples set forth by Plaintiffs are

   evidence of “safety and quality control, as opposed to the type of control employers display with

   employees.” (ECF Doc. No. 96 at p. 2). This Court agrees.

          Further, although Cox requires that M+M Technicians wear clothing and drive vehicles

   identifying them as Cox-approved, Cox argues this safety measure is to ensure that Cox customers


                                                    20
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 32 of 34 PageID #: 7514




   know that the appropriate person is entering their home. Cox’s random quality control checks and

   customer surveys result in feedback to M+M, not directly to the Technicians. The Gremillion Court

   joined several other courts in noting that “even a high degree of supervision or control may not

   trigger a joint employer finding where the purpose of the control is to maintain customer safety,

   whereas this factor might indicate a joint employer relationship where the purpose of the control is

   day-to-day management.” 2017 WL 1321318 at *6.           Here, the undisputed facts show that the

   purpose of identifying Cox on the Technician’s badge and vehicle is to ensure customer safety and

   the purpose of the surveys and quality control checks is to ensure satisfaction of Cox customers.

   These examples do not amount to day to day supervision or control of an M+M Technician’s

   schedule or working conditions. This factor also weighs against finding a joint employment

   relationship.

           3.      Payment

           There is no dispute that Plaintiffs received paychecks and tax forms from M+M. It is also

   undisputed that Cox had no involvement in how M+M paid Plaintiffs or the amount, if any, that was

   deducted from their paychecks. Pursuant to the FSA, Cox paid M+M under a point-based system.

   Importantly, Cox did not dictate how M+M paid its Technicians. In Zampos, 970 F.Supp.2d at 804,

   the Court rejected the argument that Comcast controlled the rate and method of payment of

   technicians’ pay by setting terms of pay to technicians’ direct employer for services rendered. “An

   employee’s income, received from its direct employer, will always be ‘determine[d] and

   influence[d]’ by what a contractor decides to pay the direct employer for services rendered by the

   employee. To find that this arrangement places Comcast in control of Plaintiffs’ wages would

   dramatically expand the FLSA to subsume traditional independent contractor relationships.”

   Jacobson, 740 F.Supp.2d at 692 (internal citation omitted). The Court is persuaded to follow the


                                                   21
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 33 of 34 PageID #: 7515




   reasoning of these cases and rejects Plaintiffs’ assertions that this arrangement constitutes evidence

   of control over payment of M+M Technicians. (ECF Doc. No. 88-1 at pp. 21-22.)

          4.      Employment Records

          It is uncontested that the only records Cox maintains are related to the Technician Badges

   which include a Technician’s name and identification number as well as any quality-control

   information. It is also uncontroverted that Plaintiffs submitted their time sheets to M+M and that

   M+M maintained records of the same. Plaintiffs argue that Cox maintained records of work order

   data including “including customer satisfaction records,” “amount of points earned” and similar data.

   (ECF Doc. No. 88-1 at p. 24.) Assuming this information to be accurate, it is precisely the type of

   information needed by Cox to make its payment to M+M, and also to ensure customer safety. Cox

   argues that the quality control reports, work orders and invoices do not constitute “employment

   records” in any event. (ECF Doc. No. 96 at p. 34.) Accordingly, this factor weighs against finding a

   joint employment relationship.

          5.      Conclusion on FLSA Liability

          The undisputed facts establish that Cox is not Plaintiffs’ joint employer under the FLSA. As

   discussed herein, Cox’s purported control over Plaintiff’s hiring and firing, including the background

   check requirement, Cox’s distribution of work orders through a computer system and its method for

   retrieving customer feedback reflect no more than a legitimate contractor relationship. I recommend

   that the District Court find that Cox is not Plaintiffs’ joint employer under the FLSA, and that its

   “involvement in hiring, firing, supervision, scheduling, and payment of technicians is minimal and

   indirect at best.” Gremillion, 2017 WL 1321318 at *7.

          6.      Conclusion on RIMWA Liability

          It is undisputed that, “Rhode Island law governing wages is similar to the FLSA.” Harbor


                                                    22
Case 1:14-cv-00442-WES-LDA Document 117 Filed 03/30/18 Page 34 of 34 PageID #: 7516




   Cruises LLC v. R.I. Dep’t of Labor, No. PC-05-5076, 2008 WL 4961656 (R.I. Super. Ct. Nov. 10,

   2008). Accordingly, in their pleadings, both parties acknowledge that Plaintiffs’ RIMWA claims

   “should be analyzed under the same standard as the FLSA [claims].” (See ECF Doc. No. 100 at p. 5

   n.3). Plaintiffs even point out that there was no need to separately address “joint employment

   liability in the context of the RIMWA” because the RIMWA mirrors the FLSA. Id. Because I am

   recommending that the District Court GRANT Cox’s Motion for Summary Judgment under the

   FLSA, I further recommend Cox’s Motion be GRANTED as to the RIMWA claim.

           III.       CONCLUSION

           For the reasons stated, I recommend that the District Court GRANT Cox’s Motion for

   Summary Judgment (ECF Doc. No. 83) and DENY Plaintiffs’ Combined Cross-Motion for Summary

   Judgment. (ECF Doc. No. 89).

           Any objection to this Report and Recommendation must be specific and must be filed with

   the Clerk of the Court within fourteen days of its receipt. See Fed. R. Civ. P. 72(b); LR Cv 72.

   Failure to file specific objections in a timely manner constitutes waiver of the right to review by the

   District Court and the right to appeal the District Court’s decision. See United States v. Valencia-

   Copete, 792 F.2d 4, 6 (1st Cir. 1986); Park Motor Mart, Inc. v. Ford Motor Co., 616 F.2d 603, 605

   (1st Cir. 1980).



    /s/ Lincoln D. Almond
   LINCOLN D. ALMOND
   United States Magistrate Judge
   February 7, 2018




                                                     23
